JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Case 2:21-cv-04444 Document1 Filed 10/08/21 Page1of11
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

Alexander Friedlander

(b) County of Residence of First Listed Plaintiff

Essex County, NJ

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Jeffrey R. Lessin-Law Offices of Jeffrey R. Lessin, P.C.
1515 Market Street-Suite 1650
Philadelohia. PA 19102 (215-599-1400)

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS
3M Company, e

NOTE:

Attomeys (if Known)

 

County of Residence of First Listed Defendant

tal.

Ramsay County, MN

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plainiiff

and One Box for Defendant)

 

 

 

 

 

 

  
 

  

 

 

 

 

 

 

[]1 U.S, Government [[]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C 1 C | Incorporated or Principal Place LJ 4 C 4
of Business In This State
[]2  U,S. Government [X]4 Diversity Citizen of Another State [x] 2 [_] 2 Incorporated and Principal Place 5 [x]5
Defendant (Indicate Citizenship of Parties in Item I1) of Business In Another State
Citizen or Subject of a C13 [1] 3 Foreign Nation L]6 (LJ6
Foreign Country
IV. NATURE OF SUIT (tice an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
[finn CONTRACT TORTS FORFEITURE/PENALTY, BANKRUPTCY OTHERSTATUTES _|
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [x] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729{a))
140 Negotiable Instrument Liability C] 367 Health Care/ | 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical s 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
= 151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability C] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) H 345 Marine Product Liability [| 840 Trademark Corrupt Organizations
Cj 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [ ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
| 160 Stockholders’ Suits L 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
|] 190 Other Contract Product Liability [_] 380 Other Personal | _]720 Labor/Management SOCIAL SECURITY Protection Act
- 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) — 490 Cable/Sat TV
196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability ane Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI a 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation |_| 865 RSI (405(g)) |_| 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: __]791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting |_| 463 Alien Detainee Income Security Act IETS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | | 510 Motions to Vacate i 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |] 530 General [_] 871 IRS—Third Party 899 Administrative Procedure
290 All Other Real Property 445 Amer. w/Disabilities-[ | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration Bl 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confi

 

 

 

 

 

 

 

V. ORIGIN (Ptace an “X” in One Box Only)

8 Multidistrict

1 Original 2 Removed from 3 Remanded from oO 4 Reinstated or i 5 Transferred from 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN
COMPLAINT:

 

(-] CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

(See instructions):

DEMAND $

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. Section 1332

Brief description of cause:
Personal injuries due to use of defective 3M earplugs—MDL

CHECK YES only if demanded in complaint:

JURY DEMAND:

 

[x] Yes EL No

 

IF ANY JUDGE _M. Gasey Rodgers DOCKET NUMBER. 3:19-md-2885 (N.D. Fl.)
DATE SIGNATURE yf ATTORNEY OF RECORD
10-12-21 =

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

=

APPLYING IFP

JUDGE

MAG. JUDGE
Case 2:21-cv-04444 Document1 Filed 10/08/21 Page 2 of11

JS 44 Reverse (Rev. 10/20)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I(a)

(b)

(c)

I.

Ill.

IV.

VI.

VIL.

Vill.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a govemment agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)”.

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "x"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

 

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or

multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C,

Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pra se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

156 Irving Avenue #3-South Orange NJ 07079
2501 Hudson Road-Maplewood, MN 55144

Address of Plaintiff:

 

Address of Defendant:

 

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: 3:19-md-2885 Judge: M. Casey Rodgers Date Terminated:

 

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No [|
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No [
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No |_|
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [|] No []
case filed by the same individual?

I certify that, to my knowledge, the within case Cis / Cl isnot related to any case now pending or within one year previously terminated action in
this court except as noted above.

10/12/2021 ——— PA 43801

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

DATE:

 

 

CIVIL: (Place a ¥ in one category only)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
(1 1. Indemnity Contract, Marine Contract, and All Other Contracts {] 1. Insurance Contract and Other Contracts
[J 2. FELA [|] 2. Airplane Personal Injury
L] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
LJ 4. Antitrust [] 4. Marine Personal Injury
tH 5. Patent [-] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [.] 6. Other Personal Injury (Please specify):
LJ 7. Civil Rights 7. Products Liability
[] 8. Habeas Corpus (1 8. Products Liability — Asbestos

9. Securities Act(s) Cases [] 9. All other Diversity Cases
HT 10. Social Security Review Cases (Please specify):
LJ 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Jeffrey R. Lessin, Esquire _ counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[] Relief other than monetary damages is sought.

PA 43801

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

10/12/2021

DATE:

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38,

 

Civ. 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Alexander Friedlander i CIVIL ACTION
Vv. 2
3M Company, etal. ‘ NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § | :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court, (See reverse side of this form for a detailed explanation of special

 

 

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. (XO
10-12-21 Jeffrey R. Lessin, Esquire Plaintiff
Date Attorney-at-law Attorney for
215-599-1400 215-599-0120 J.Lessin@LessinLaw.com
Telephone FAX Number E-Mail Address

(Civ, 660) 10/02
Case 2:21-cv-04444 Document1 Filed 10/08/21 Page5of11

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (ec) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly reterred to as “complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985, This term is
intended to include cases that present unusual problems and require extraordinary treatment. See $0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before fina] disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities: patent cases; copyright and trademark
cases: common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder’s derivative and stockholder’s representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues, See $0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

 

PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

Judge M. Casey Rodgers
This Document Relates to: Magistrate Judge Gary R. Jones
Alexander Friedlander MASTER SHORT FORM

COMPLAINT AND
PLAINTIFF(S), JURY TRIAL DEMAND
V.

Civil Action No.:

3M COMPANY, 3M
OCCUPATIONAL SAFETY LLC,
AEARO HOLDING LLC, AEARO
INTERMEDIATE LLC, AEARO LLC,
and AEARO TECHNOLOGIES LLC,

DEFENDANTS.

 

 

MASTER SHORT FORM COMPLAINT AND JURY TRIAL DEMAND
Plaintiff(s) incorporate(s) by reference the Master Long Form Complaint and
Jury Trial Demand filed in In re: 3M Combat Arms Earplug Products Liability
Litigation on September 20, 2019. Pursuant to Pretrial Order No. 17___, this Short
Form Complaint adopts the allegations, claims, and requested relief as set forth in
the Master Long Form Complaint. As necessary herein, Plaintiff(s) may include:
(a) additional claims and allegations against Defendants, as set forth in Paragraphs

10 and 11 or an additional sheet attached hereto; and/or (b) additional claims and
Case 2:21-cv-04444 Document1 Filed 10/08/21 Page 7 of 11

allegations against other Defendants not listed in the Master Long Form Complaint,

as set forth in Paragraphs 12 and 13 or an additional sheet attached hereto.
Plaintiffs) further allege(s) as follows:

I. DEFENDANTS

1. Plaintiff(s) name(s) the following Defendants in this action:

 

 

 

 

 

xX 3M Company

X 3M Occupational Safety LLC
xX Aearo Holding LLC

X Aearo Intermediate LLC

X Aearo LLC

X Aearo Technologies LLC

 

Il. PLAINTIFF(S)

2. Name of Plaintiff:

 

 

 

 

 

 

 

 

Martin T. Wolf
35s Name of spouse of Plaintiff (if applicable to loss of consortium
claim):
NA
4. Name and capacity (i.e., executor, administrator, guardian, conservator,

etc.) of other Plaintiff, if any:

 

NA

 

 

 
II.

IV.

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5. State(s) of residence of Plaintiff(s):

 

 

 

 

New Jersey
JURISDICTION
6. Basis for jurisdiction (diversity of citizenship or other):

 

Diversity Jurisdiction(28 U.S.C. § 1332) & Multidistrict Litigation

 

 

 

7. Designated forum (United States District Court and Division) in which
venue would be proper absent direct filing:

 

United States District Court for the Eastern District of Pennsylvania

 

 

 

USE OF DUAL-ENDED COMBAT ARMS EARPLUG

8. Plaintiff used the Dual-Ended Combat Arms Earplug:

 

X Yes
ee No
INJURIES
98 Plaintiff alleges the following injuries and/or side effects as a result of

using the Dual-Ended Combat Arms Earplug:

 

 

X Hearing loss
X Sequelae to hearing loss
X Other [specify below]

 

 

Bilateral tinnitus

 

 

 
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VI. CAUSES OF ACTION

10.

Plaintiff(s) adopt(s) in this Short Form Complaint the following claims
asserted in the Master Long Form, Complaint and Jury Trial Demand,
and the allegations with regard thereto as set forth in the Master Long
Form Complaint and Jury Trial Demand:

X

 

X

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count I — Design Defect — Negligence
Count II — Design Defect — Strict Liability
Count III — Failure to Warn — Negligence
Count IV — Failure to Warn — Strict Liability
Count V — Breach of Express Warranty
Count VI — Breach of Implied Warranty
Count VII — Negligent Misrepresentation
Count VIII — Fraudulent Misrepresentation
Count IX — Fraudulent Concealment

Count X — Fraud and Deceit

Count XI — Gross Negligence

Count XII — Negligence Per Se

Count XIII — Consumer Fraud and/or Unfair Trade Practices
Count XIV — Loss of Consortium

Count XV — Unjust Enrichment

Count XVI — Punitive Damages
11.

12.

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Count XVII — Other [specify below]

 

 

 

 

If additional claims against the Defendants identified in the Master
Long Form Complaint and Jury Trial Demand are alleged in Paragraph
10, the facts supporting these allegations must be pleaded. Plaintiff(s)
assert(s) the following factual allegations against the Defendants
identified in the Master Long Form Complaint and Jury Trial Demand:

 

 

 

 

Plaintiff(s) contend(s) that additional parties may be liable or
responsible for Plaintiff(s)’ damages alleged herein. Such additional
parties, who will be hereafter referred to as Defendants, are as follows
(must name each Defendant and its citizenship):

 

 

 

 
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13.  Plaintiff(s) assert(s) the following additional claims and factual
allegations against other Defendants named in Paragraph 12:

 

 

 

 

WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against
Defendants and all such further relief that this Court deems equitable and just as set
forth in the Master Long Form Complaint and Jury Demand and any additional relief

to which Plaintiff(s) may be entitled.

Dated: 09-21-21

 

Jeffrey R. Lessin, Esquire (PA ID # 43801)
Frank Pollock, Esquire (PA ID # 80172)
Law Offices of Jeffrey R. Lessin, P.C.
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Philadelphia, PA 19102

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